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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


JOSEPH FEHL,

                    Plaintiff,

vs.                                                     I Civ.   Action No.: 2:17-cv-11462

BOROUGH OF WALLINGTON, WITOLD
BAGINSKI, in his individual and
official capacity as Business
Administrator of Wallington, SEAN
KUDLACIK, BERGEN COUNTY PROSECUTOR'S
OFFICE, JOHN and JANE DOE(s) 1-10                          PRETRIAL SCHEDULING ORDER
(fictitious persons yet to be
identified) .

                    Defendants.




     THIS MATTER having come before the Court for a scheduling
conference pursuar,t to Rule 16 of the Federal Rules of Civil
Procedure on    ) µ~ \ !~ , and the parties having reviewed the
Court's Civil Case ~anagement Order as well as the Local Civil
Rules, and for good cause shown,

      IT IS on this day of              r(rro/(8
      ORDERED      THAT    the          next event in                  this       matter         will   be
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                                                    7                 o--.   8/zz / t'3 e_,.,   I fM.
      FURTHER ORDERED that this matter will proceed as follows:


1.    Fact Discovery Deadline. Fact discovery is to remain open
      through December 30, 2018. All fact witness depositions must
      be completed by the close of fact discovery. No discovery is
      to be issued or engaged in beyond that date, except upon
      application and for good cause shown.


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2.    Motions to Add New Parties. Any motion to add new parties,
      whether by amended or third-party complaint, must be
      electronically filed no later than September 15, 2018.

3.    Motions to Amend Pleadings.  Any motion to amend pleadings
      must be electronically filed no later than November 1, 2018.

4.    Rule 26 Disclosures. The parties shall exchange disclosures
      pursuant to Rule 26 no later than May 30, 2018.

5.    Interrogatories. The parties may serve interrogatories
      limited to 25 single questions including subparts, on
      or before, June 30, 2018 which shall be responded to by
      July 30, 2018.

6.    Document Requests. The parties may serve requests for
      production of documents on or before June 30, 2018, which
      shall be responded to by July 30, 2018.

7.    Depositions.  The number of depositions to be taken by each
      side shall not exceed 10.

8.    Electronic Discovery. The parties are directed to Rule 26(f),
      as amended,   which, inter alia, addresses preservation of
      discoverable information, discovery of electronically stored
      information,   and claims of privilege or       work product
      protection. The parties are also directed to Local Civil Rule
      26.l(d) which describes the obligations of counsel with
      regard to their clients' information management systems.

9.    Dis~overy Disputes. The parties agree to confer to resolve                  any
      disputes before seeking court intervention.

10.   Motion Practice. Disposi ti ve motions to be served within 45
      days of completion of discovery or at an earlier date prior
      to the completion of Discovery if the filing party obtains
      permission of the Court

11.   Expert Reports.   All affirmative expert reports shall be
      delivered by •  ///30/Jq . ~· All responsive expert reports
      shall be delivered bv     ~ JI t,{lq                   .._.Depositions nf -, all,
      experts to be completed by      5[,_,,_S::-++ltg_.,_ _
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12.   Form and Content of Expert Reports. All expert reports must
      comport with the form and content requirements set forth in
      Rule 26 (a) (2) (B). No expert shall testify at trial as to


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      any  opinions   or  base   those opinions   on            facts   not
      substantially disclosed in the expert's report.

13.   Extensions   and Adjournments.     Please   ref er to   the Court's
      Civil Case Management Order.

14.   Protective Orders.  Any proposed confidentiality order agreed
      to by the parties must strictly comply with Rule 26(c), Local
      Civil Rule 5.3, and applicable case law.

15.   Local Rules. The parties are directed to the Local Civil
      Rules for any other matter not addressed by this Order or
      the Court's Civil Case Management Order.

16.   FAILURE TO COMPLY WITH THE TERMS OF THIS          ORDER    OR ANY
      OTHER ORDERS WILL RESULT IN SANCTIONS.




                                  United Statks Mag~strate Judge




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